             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION
                              2:08 CR 12-1


UNITED STATES OF AMERICA,                        )
                                                 )
Vs.                                              )             ORDER
                                                 )
AMY ELIZABETH ARCH,                              )
                                                 )
                 Defendant.                      )
__________________________________               )


       THIS CAUSE coming on before the court, pursuant to a motion filed by

defendant’s counsel, entitled “Motion for Modification of Detention Order Pending

Trial” (#34). From an examination of the motion, the undersigned has determined

that the defendant has not shown good and sufficient reason to hold another detention

hearing in this matter. 18 U.S.C. § 3142(f)(2) states as follows:

       The hearing may be reopened, before or after determination by the
       judicial officer, at any time before trial if the judicial officer finds that
       information exists that was not known to the movant at the time of the
       hearing and that has a material bearing on the issue of whether there are
       conditions of release that will reasonably assure the appearance of such
       person as required and the safety of any other person and the
       community.

       An examination of the motion of the defendant shows that it is based upon

events that may happen in the future but which have not yet occurred. Further, the

motion is based upon a misapprehension of the law. The defendant states that the




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United States Sentencing Guidelines directs a certain range of punishment for the

defendant. If the defendant pleads guilty to the crime of misdemeanor simple assault

in violation of 18 U.S.C. § 113(a)(4), then the maximum possible punishment is a

term of imprisonment of not more than six months, a fine not to exceed the sum of

$5,000., or both. The punishment provided for the offense would classify this matter

as a “class B misdemeanor” as provided under 18 U.S.C. § 3559(a)(7). The United

States Sentencing Guidelines do not apply to such an offense. Further, although a

plea agreement has been filed, the defendant has not entered such a plea of guilty.

At the present time the defendant’s forecast of reasons for a detention hearing do not

meet the requirements of the statute. As a result the undersigned will deny the motion

of the defendant.



                                      ORDER

      WHEREFORE, IT IS ORDERED that the defendant’s “Motion for

Modification of Detention Order Pending Trial” (#34) is hereby DENIED.

                                          Signed: May 21, 2008




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